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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               LYNCHBURG DIVISION

                                                )
UNITED STATES,                                  )
                                                )
               Plaintiffs,                      )
                                                )
       v.                                       )
                                                  Case No. 6:22-cv-28-NKM
                                                )
ENVIGO RMS, LLC,                                )
                                                )
               Defendant.                       )
                                                )
                                                )
                                                )


     DECLARATION OF DR. LEN EDWARD MURRAY, DACLAM, DACVPM IN
       SUPPORT OF ENVIGO’S RESPONSE TO PLAINTIFF’S MOTION FOR
                      PRELIMINARY INJUNCTION


       I, Len Edward Murray, DVM, MPH, DACLAM, DACVPM, declare the following to be

true and correct to the best of my knowledge:

       1.      I am a licensed veterinarian with 31 years of experience. I have been a principal

of Red Hawk Veterinary Services, PLLC, (“Red Hawk”), located at 161 Caroon Road, Poplar

Branch, North Carolina 27965, since 2019. Red Hawk provides professional services in animal

care and use programs, including veterinary consulting, clinical, and attending veterinary

services for animal care and use programs. Red Hawk also provides animal health program

design and management services for private, academic, and governmental research programs.

Red Hawk is a Native American and Veteran owned business.

       2.      I earned my bachelor’s degree in animal science from North Carolina State

University in Raleigh, North Carolina in 1986. I earned my Doctor of Veterinary Medicine from

North Carolina State University in 1991. In addition, I received my Master of Public Health in
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2002 from the Uniformed Services University of the Health Sciences in Bethesda, Maryland. I

became a Diplomate of the American College of Laboratory Animal Medicine (ACLAM) in

2004 and a Diplomate of the American College of Veterinary Preventative Medicine (ACVPM)

in 2003. Prior to establishing Red Hawk, I was the Program Director of Comparative Medicine at

SoBran BioScience, Inc., a leading provider of biomedical research support services, for almost

eleven years. Prior to my employment with SoBran, I served in the U.S. Army Veterinary Corps

and retired as a Lieutenant Colonel. As a veterinarian in the U.S. Army, my duties ranged from

providing full veterinary services and care for government-owned animals and to service

member pets. I spent my last 10 years of service in research both as a clinical veterinarian and

later as an attending veterinarian. Prior to my U.S. Army service, I was employed in a large

animal general practice.

        3.      I was retained by Envigo RMS, LLC (“Envigo”), effective April 22, 2022, as the

Attending Veterinarian for its Cumberland, Virginia facility. As the Attended Veterinarian, my

responsibilities include daily observations of animals, veterinary care and treatment of all injured

animals, humane euthanasia, necropsies of unexpected deaths, ensuring proper nutrition and

water for all dogs at the facility, and ensuring that the facility’s housing meets USDA standards

under the Animal Welfare Act and 9 C.F.R. §§ 1–3. In my role as the Attending Veterinarian for

the facility, I can state the following:

 I.      The Cumberland Facility Veterinary Team and Veterinary Care Plan.

        4.      Envigo assembled a team of licensed veterinarians to assess the conditions at the

Cumberland Facility and to provide veterinary care to the beagles housed there. In addition to

myself, Dr. Emily Olson is on site every Tuesday and local veterinarian Dr. Elizabeth

Hazelgrove is on call to provide critical care if no other veterinarian is on site. Envigo also

employs a contract veterinarian to perform dentals on weekends. When extra assistance is
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needed, Envigo veterinarians and veterinary technicians travel to the Cumberland facility from

other Envigo locations. For example, Dr. Helmut Ehall, the Head of Veterinary Care for

Envigo’s parent company, Inotiv, Inc., has traveled from Europe several times in the last several

months to provide assistance with veterinary care, in particular performing numerous dentals and

assessing and treating other medical conditions. In addition, I have a team of animal care

technicians who are trained to administer treatments that the licensed veterinarians prescribe and

to otherwise provide veterinary assistance. The animal care and husbandry staff presently

employed at the facility are well trained and are very capable. Finally, the facility has been

continuing to search for additional veterinarians and veterinary technicians to add to its staff.

       5.      Envigo has developed and implemented a detailed veterinary care plan for the

Cumberland Facility. I understand that Envigo provided counsel for the United States with a

copy of this plan. I am not aware of any concerns raised by the United States about our

veterinary care plan. The plan includes daily observations for all dogs and alerting the veterinary

staff to any health or welfare issues. We also perform annual physical exams of the dogs as

required by USDA regulations. During annual physical exams, the dogs’ general health,

including oral health, is assessed. If conditions are identified during the exam such as

periodontal disease, the animal is scheduled to for the appropriate treatment. When I am on site, I

perform walkthroughs of the facility, focusing special attention on the puppy pens.

       6.      Based on my education, training, and experience, it is my professional opinion

that the dogs still housed at the Cumberland Facility are well-cared for and are generally healthy

and in good condition. They exhibit typical dog behavior, including excitement when they see

people and are eager interact with them.

II.     Access to Proper Nutrition and Water for all Beagles.



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       7.      Under my supervision, Envigo has also implemented a dietary plan to ensure that

every beagle is provided uncontaminated, wholesome, palatable food of sufficient quantity and

nutritive value that is appropriate for the individual animal’s age and condition. Envigo is using

two canine diets supplied by Teklad, Inc. The Teklad 2027 diet is designed to support gestation,

lactation, and growth. It has a high fat and energy density and is an appropriate diet for puppies

less than six weeks of age and to dams two weeks prior to whelping and during lactation. The

Cumberland facility feeds that diet to those groups of dogs. The Teklad 3025 diet is used to feed

all puppies six weeks of age and over and supports gestation, lactation, and growth. The Teklad

3025 diet is also used to feed studs and other adults, and that diet is appropriate for both

populations. It is my understand that Envigo provided counsel for the United States with my

declaration on May 25, 2022, which included details of the dietary plan. I am not aware of any

concerns raised by the United States about our dietary plan.

       8.      Envigo’s veterinary care team has also undertaken efforts to ensure that all dogs

at the Cumberland Facility also have access to potable water. All enclosures are equipped with a

Lixit automatic watering apparatus. In my professional opinion, these systems effectively

provide access to potable water that a puppy can easily drink from without any assistance. To

supplement the Lixit systems, Envigo has also placed water bowls in all enclosures containing

puppies under 10 weeks of age and any other puppies that, based on my observations, may

benefit from a water bowl. As of the date of this declaration, Envigo has also purchased an

additional 2,000 metal bowls that can be used for food or water.

III.    Compatible Housing and Safety Measures.

       9.      Since the Court’s Order was issued, only five of the 3,188 dogs at the facility

have been identified as having injuries attributable to or consistent with a fight, or due to an

unknown cause. Fighting sometimes occurs when the dominant dog in an enclosure attempts to
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guard its food source. This is normal behavior for dogs. In my professional experience, it is not

unusual to experience this relatively small number of fight-related incidents in a facility of this

type. Our team is taking all reasonable steps to minimize the number of such incidents and to

respond promptly when incidents occur. In addition, in all cases except one of the five

aforementioned cases, where the dog was suspected of having sustained an injury related to a

dog door, the dog was immediately relocated from its enclosure into another enclosure and was

appropriately treated. It is my understand that Envigo provided counsel for the United States

with notice of these injuries and with medical records reflecting the treatment each of the five

dogs received as a result of the above mentioned injuries.

    IV.   Veterinary Treatment and Preventative Care.

          10.   Since receiving 471 in field examination forms from the United States on May 21

and May 23, Envigo’s veterinary care team has administered all treatment recommended by the

United States’ veterinarians, except as described below. A number of such treatments, including

dentals, required anesthesia, and some were surgeries. My team and I have performed nearly

two hundred dentals in response to the in-field examination forms from the United States.1 Of

the 471 in-field examination forms we received, 435 of these dogs have been treated.

          11.   In my professional opinion, some of the medical treatments recommended by the

veterinarians for the United States are not appropriate at present and should be delayed. These

cases include dental cleanings for pregnant or nursing dogs, because the anesthesia required for

the procedure presents risks to the unborn or nursing puppies. Also, dogs should be evaluated

for umbilical hernia surgeries at 13 weeks, and six dogs for which such surgeries have been




1
 I note that the dental health issues described by the United States in their declarations appear to
have been for dogs that were seized and are no longer at the Cumberland facility.

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recommended are younger than that. Neuter surgeries should not be performed until a dog is six

months old, and four of dogs for which such that surgery was recommended are younger than six

months old.

       12.     In addition to my normal caseload and to treating the vast majority of the dogs in

the in-field examination forms, I am in the process of treating all 3,188 dogs at the facility for

Giardia because a single case of the parasite was identified.

       13.     Nearly all of Envigo’s dogs have normal body condition scores. Since my arrival

at the facility, approximately five dogs have had below normal body condition scores (i.e., were

thin). These dogs were individually fed and have since returned to normal body weight.

Fluctuations in the body weight of pregnant and nursing females is a normal part of the nursing

cycle—particularly for mothers with second litters. Heavy lactation means much of the dog’s

caloric energy is going to milk production, and the dog may become thin during this time as a

result. Once the dog is weaned, the animal’s weight will generally return to normal. If the

animal remains thin after it has weaned, Envigo’s animal care technicians are trained to identify

the animal and provide additional food as necessary.

       14.     Envigo also has a program in place to assess whether its dogs have intestinal

worms. In May, my team of veterinarians assessed the dogs for intestinal worms. Neither I nor

my staff have observed either worms or worm eggs in any of the dogs we examined. My

veterinary team is also working to identify dogs with another type of parasite, Coccidia. We will

treat these dogs if/when they are identified.

       15.     Other preventive care for the dogs is described in the Program of Veterinary Care

that was provided to counsel to the United States.




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